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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        1
                                                 1
                    Plaintiff,                   1
                                                 1
      vs.                                        1      NO. 04-CR-40006902JPG
                                                 1
MARK EVAN CHILDRESS,                             1
                                                 1
                    Defendant.                   )


                                 SENTENCING MEMORANDUM

       THE COURT, while not bound to apply the Sentencing Guidelines, has consulted

those guidelines and taken them into account in the above-captioned cause. The Court

also considered the factors set forth in Title 18 U.S.C.A. §3553(a) in imposing said

sentence, including: (1) the nature and circumstances of the offense; (2) the defendant's

history and characteristics; (3) the need of the sentence to deter future crime, protect the

public, and provide the criminal with necessary services such as education and medical

treatment; (4) the Sentencing Commission recommendations regarding sentencing range;

(5) Sentencing Commission policy; and (6) sentence consistent for similar violations.

       In the judgment of this Court, a sentence outside the guideline range, but within the

statutory limits, was reasonable taking into account all sentencing factors under the

Sentencing Guidelines and 18 U.S.C.A. §3553(a). The Court finds that there were several

mitigating factors present and that these factors were not taken into account by the

Guidelines. Specifically, the defendant has a history of alcohol and drug addiction, and an

unverified history of depression. The defendant has an active employment history and the

number of destructive devices was near the low-end of the threshold that triggers the four-

level upward adjustment that resulted in the increased Sentencing Guideline range.
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      The Court finds that the public is not in danger and that this defendant is not likely

to commit further crimes. There is no evidence that Mr. Childress intended to use the

destructive devices to destroy property or harm others.

      ENTER: June Yi?2005
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